On October 23, 2005, the 215th District Court of Harris County found that the claims of all intervenors in cause number 2005-44301 except Jason Absher were misjoined. The court ordered the intervenors' claims to be docketed as separate suits with the cost of docketing the claims to be taxed against each of the individual intervenors. On July 18, 2006, the trial court entered another order severing each of the intervenors' claims except Absher's into separate actions and directed the trial court clerk to assign a new docket number to each case with the intervenors bearing all costs incident to such severance. The First Court of Appeals denied petitions for writ of mandamus seeking to challenge the October 23, 2005, and July 18, 2006 orders. On October 30, 2006, the trial court ordered the intervenors to comply with the July 18, 2006 order by taking the actions necessary to effectuate the severance by November 30, 2006. On December 21, 2008, the trial court found that for more than three years the intervenors willfully failed and refused to pay the filing fees required to effectuate the severance. As a result, the trial court dismissed the claims of all intervenors who had not paid the required filings fees.
In view of the aforementioned procedural history, the case does not meet the criteria for MDL transfer under Rule 13.See TEX. R. JUD. ADMIN. 13. The motion to transfer for MDL proceedings is denied.
Presiding Judge PEEPLES and Justices LANG, HANKS, STONE, and McCLURE join. *Page 667 